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10                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
11
      INNOVATION LAW LAB, et al.,                       CASE NO.: 3:19-CV-00807-RS
12
                     Plaintiffs,                        PROPOSED ORDER REGARDING
13                                                      PARTIES’ JOINT MOTION TO
                                                        TEMPORARILY HOLD ORDER TO
14                   v.                                 SHOW CAUSE IN ABEYANCE

15    ALEJANDRO MAYORKAS, et al.,

16                   Defendants.
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      PROPOSED ORDER REGARDING PARTIES’ JOINT MOTION TO TEMPORARILY HOLD
            ORDER TO SHOW CAUSE IN ABEYANCE, CASE NO. 3:19-cv-00807-RS
        Case 3:19-cv-00807-RS Document 132-1 Filed 08/11/21 Page 2 of 3




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     PROPOSED ORDER REGARDING PARTIES’ JOINT MOTION TO TEMPORARILY HOLD
           ORDER TO SHOW CAUSE IN ABEYANCE, CASE NO. 3:19-cv-00807-RS
          Case 3:19-cv-00807-RS Document 132-1 Filed 08/11/21 Page 3 of 3



                                             PROPOSED ORDER
 1

 2          The Parties Joint Motion to Temporarily Hold the Order to Show Cause in Abeyance is

 3   hereby granted. Plaintiffs will file a status report with the Court on August 30, 2021.

 4   IT IS SO ORDERED.
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 6
      Date _________________                              _________________________
 7                                                        Hon. Judge Richard Seeborg
                                                          U.S. District Court Judge
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      PROPOSED ORDER REGARDING PARTIES’ JOINT MOTION TO TEMPORARILY HOLD
            ORDER TO SHOW CAUSE IN ABEYANCE, CASE NO. 3:19-cv-00807-RS
